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                        ATTACHMENT 5

         FTI DTDF September 2006 Monthly Statement
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November 28, 2006



USA Commercial Mortgage Company
4484 South Pecos Road
Las Vegas, NV 89121

Attention:        LeAnn Weese, Controller

RE:      FTI Consulting, Inc. (“FTI”), September 2006 Monthly Statement (Third)
         USA Commercial Mortgage Company, et al; Jointly Administered under Case No. BK-S-06-10725 LBR

Enclosed please find FTI Consulting, Inc.’s monthly statement for professionals fees for services rendered and
reimbursement of expenses incurred as Financial Advisors for the Official Committee of Equity Security Holders of
USA Capital Diversified Trust Deed Fund, LLC for the period September 1, 2006 through September 30, 2006.

Copies of this monthly statement have been provided via email to all parties listed on the attached distribution list.

If you should have any questions regarding our monthly statement, please do not hesitate to call Chas Harvick at
602.744.7186 or me at 602.744.7144.

Sincerely,




Michael A. Tucker
Senior Managing Director

Enclosures
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DISTRIBUTION:

Debtor
         LeAnn Weese, USA Commercial Mortgage Company

Debtor’s Counsel
        Annette W. Jarvis, Esq., Ray Quinney & Nebeker P.C.
        Lenard E. Schwartzer, Esq., Schwartzer & McPherson Law Firm

Counsel for Official Committee of Unsecured Creditors of USA Commercial Mortgage Company
        Susan M. Freeman, Esq., Lewis and Roca, LLP
        Rob Charles, Esq., Lewis and Roca, LLP

Counsel for Official Committee of Holders of Executory Contract Rights of USA Commercial Mortgage Company
        Gerald M. Gordon, Esq., Gordon & Silver, LTD.
        Gregory E. Garman, Esq., Gordon & Silver, LTD.

Counsel for Official Committee of Equity Security Holders of USA Capital Diversified Trust Deed Fund, LLC
        Marc A. Levinson, Esq., Orrick, Herrington & Sutcliffe LLP
        Lynn Trinka Ernce, Esa., Orrick, Herrington & Sutcliffe LLP

Counsel for Official Committee of Equity Security Holders of USA Capital First Trust Deed Fund, LLC
        Frank A. Merola, Esq., Stutman Treister & Glatt, P.C.
        Eve H. Karasik, Esq., Stutman Treister & Glatt, P.C.

Office of the U.S. Trustee – District of Nevada (copy also via FedEx)
         August B. Landis, Assistant United States
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                                                                                FTI Consulting, Inc.
                                                                               Two North Central Avenue
                                                                               Suite 1200
                                                                               Phoenix, Arizona 85004

                                                                               602.744.7100 Telephone
                                                                               602.744.7110 Facsimile




RE:     USA Commercial Mortgage Company
        USA Capital Diversified Trust Deed Fund, LLC
        USA Capital First Trust Deed Fund, LLC
        USA Capital Realty Advisors, LLC
        USA Securities, LLC

        Jointly Administered under Case No. BK-S-06-10725-LBR

Date:   November 28, 2006


        Debtor Entity – USA Capital Diversified Trust Deed Fund, LLC

For professional services rendered from September 1, 2006 through September 30, 2006

Total Current Fees                                                                     $   178,124.25
Total Current Expenses                                                                       1,746.73

Total Current Fees and Expenses                                                        $   179,870.98

Eighty Percent of Total Current Fees                                                    $ 142,499.40
One Hundred Percent of Total Current Expenses                                               1,746.73

Total Amount Due this Statement                                                        $   144,246.13


SEE DETAIL ATTACHED.




                   PLEASE REMIT PAYMENT TO:
                     Bank of America                      FTI Consulting, Inc.
                     ABA #026009593                       P.O. Box 631916
                     In favour of:                        Baltimore, MD 21263-1916
                     FTI Consulting, Inc.                 FED ID#XX-XXXXXXX
                     Account #003939577164


NOTE: There may be expenses that were incurred during this billing cycle that are not reflected in this
monthly statement but will appear in subsequent monthly statements because of the unavoidable delay in
posting some disbursements.
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                                   USA Capital Diversified Trust Deed Fund
                                              Summary Exhibit A
                                        Total Hours, Fees and Expenses
                                  For the Period of 9/1/2006 through 9/30/2006
Consultant             Level                     Hours           Rate       Fees     Expenses         Total

Tucker, M.             Sr. Managing Dir.          151.7    $450         68,265.00       24.75   68,289.75

Belt, D.               Managing Director           37.8    $415         15,687.00      725.35   16,412.35

Bellazain-Harris, S.   Managing Director            0.5    $415           207.50         0.00      207.50

Harvick, C.            Director                   110.0    $375         41,231.25      475.60   41,706.85

Schwartz, J.           Senior Consultant           15.1    $295          4,454.50        0.00    4,454.50

Peterson, L.           Senior Consultant          159.6    $295         47,082.00      510.35   47,592.35

Smith, S.              Paraprofessional            12.6     $95          1,197.00        0.00    1,197.00

Grand Total                                       487.3             $178,124.25     $1,736.05 $179,860.30




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                            USA Capital Diversified Trust Deed Fund
                                      Summary Exhibit B
                      Time Charges Incurred by Professional by Activity Code
                          For the Period of 9/1/2006 through 9/30/2006
Consultant                                                              Hours                   Fees
Asset Analysis and Recovery
     Bellazain-Harris, S.                                                  0.5              207.50
     Belt, D.                                                             14.0             5,810.00
     Harvick, C.                                                          55.8            20,925.00
     Peterson, L.                                                        101.5            29,942.50
     Smith, S.                                                             0.8                  76.00
     Tucker, M.                                                           19.0             8,550.00

     Total for Asset Analysis and Recovery:                              191.6            65,511.00


Asset Sale
     Harvick, C.                                                          11.1             4,143.75
     Tucker, M.                                                           34.7            15,615.00

     Total for Asset Sale:                                                45.8            19,758.75


Case Administration
     Belt, D.                                                              0.2                  83.00
     Harvick, C.                                                           2.6              975.00
     Peterson, L.                                                          2.6              767.00
     Schwartz, J.                                                          0.5              147.50
     Tucker, M.                                                            3.4             1,530.00

     Total for Case Administration:                                        9.3             3,502.50


Claims Administration and Objections
     Belt, D.                                                              2.1              871.50
     Harvick, C.                                                           5.0             1,875.00
     Peterson, L.                                                         18.0             5,310.00
     Schwartz, J.                                                          4.3             1,268.50
     Tucker, M.                                                            8.3             3,735.00

     Total for Claims Administration and Objections:                      37.7            13,060.00


Collection Account Distributions and Related Disputes
     Belt, D.                                                              2.5             1,037.50
     Harvick, C.                                                           0.7               262.50
     Tucker, M.                                                            6.5             2,925.00

     Total for Collection Account Distributions and Related Disputes:      9.7             4,225.00


Court Hearings
     Tucker, M.                                                            0.6              270.00

     Total for Court Hearings:                                             0.6              270.00



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Consultant                                                             Hours                   Fees
Employment/Fee Applications
     Harvick, C.                                                          1.8               656.25
     Schwartz, J.                                                        10.3             3,038.50
     Smith, S.                                                           11.8             1,121.00

     Total for Employment/Fee Applications:                              23.9             4,815.75


Financing
     Peterson, L.                                                         3.2               944.00
     Tucker, M.                                                           0.6               270.00

     Total for Financing:                                                 3.8             1,214.00


IP/10-90/Ashby Recovery
     Belt, D.                                                            12.0             4,980.00
     Harvick, C.                                                         22.4             8,418.75
     Peterson, L.                                                        24.5             7,227.50
     Tucker, M.                                                          32.3            14,535.00

     Total for IP/10-90/Ashby Recovery:                                  91.3            35,161.25


Meetings & Communications with Diversified Committee
     Harvick, C.                                                          5.8             2,175.00
     Tucker, M.                                                           7.0             3,150.00

     Total for Meetings & Communications with Diversified Committee:     12.8             5,325.00


Plan and Other Restructure Related Work
     Belt, D.                                                             7.0             2,905.00
     Harvick, C.                                                          4.8             1,800.00
     Peterson, L.                                                         9.8             2,891.00
     Tucker, M.                                                          39.3            17,685.00

     Total for Plan and Other Restructure Related Work:                  60.9            25,281.00


Grand Total                                                             487.3         $178,124.25




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                               USA Capital Diversified Trust Deed Fund
                                         Summary Exhibit C
                           Detailed Time Charges Incurred by Activity Code
                          For the Period of 9/1/2006 through 9/30/2006
Date       Consultant         Description                                              Hours          Fees

Asset Analysis and Recovery
9/1/2006   Harvick, C.        Review Franklin-Stratford loan history report and          0.6      225.00
                              support documents prepared by Mesirow and
                              participate in discussions with L. Peterson and M.
                              Tucker regarding same.

9/1/2006   Peterson, L.       Analyze the interest paid by Franklin-Stratford, how       4.4     1,298.00
                              this matches to the loan agreement and if this amount
                              less 1% (servicing fee) was paid to Diversified
                              including discussion with C. Harvick and M. Tucker.

9/1/2006   Peterson, L.       Reconcile the $18.9 million receivable from USA            0.3          88.50
                              Commercial Mortgage to Diversified Trust Deed
                              Fund's financial statements.

9/1/2006   Tucker, M.         Analysis of cash receipts for Franklin-Stratford loan      0.3      135.00
                              history report and discuss same with L. Peterson and
                              C. Harvick.

9/4/2006   Tucker, M.         Review of summary status of loans by guarantor and         1.1      495.00
                              whether repaid, performing or nonperforming;
                              determine follow up needed to coordinate with USA
                              Commercial Mortgage team.

9/5/2006   Harvick, C.        Review of FTI prepared loan history report and             1.9      712.50
                              support detail (bank statements, check copies, etc.)
                              for Franklin Stratford, research discrepancies between
                              FTI and Mesirow loan history report. Review Franklin-
                              Stratford with L. Peterson.

9/5/2006   Harvick, C.        Review of Diversified Trust Deed Fund schedule of          0.8      300.00
                              insider payments at petition and review of Diversified
                              Trust Deed Fund post-petition financial statements,
                              call S. Smith regarding Diversified Trust Deed Funds'
                              A/R from Investment Partners.

9/5/2006   Peterson, L.       Review information provided by Debtor and other            0.3          88.50
                              parties primarily as a result of FTI data requests,
                              organize information and prepare support
                              documentation binders for asset recovery and other
                              restructuring/plan related work.

9/5/2006   Peterson, L.       Analyze the interest paid by borrower for Franklin-        2.1      619.50
                              Stratford, how this matches to the loan agreement
                              and if this amount less 1% (servicing fee) was paid to
                              Diversified including discussion with C. Harvick.

9/5/2006   Peterson, L.       Prepare analysis and review documents to get the           0.7      206.50
                              detail for the $18 million intercompany receivable on
                              Diversified July 31, 2006 balance sheet filed in the
                              monthly operating report.

9/6/2006   Harvick, C.        Review of EPIC Marketing and Commission                    0.3      112.50
                              Agreement.




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Date       Consultant     Description                                                Hours          Fees

9/6/2006   Harvick, C.    Review of Loan Summary provided by Sierra                    0.4      150.00
                          Consulting and e-mail regarding the same.

9/6/2006   Harvick, C.    Review of USA Commercial Mortgage and Diversified            0.3      112.50
                          Trust Deed Fund post-petition collections through
                          September 1, 2006.

9/6/2006   Peterson, L.   Review of the Diversified Trust Deed Fund's 2000,            1.4      413.00
                          2001, 2002 Audited Financial Statements and
                          comparing them to Diversified Trust Deed Fund's
                          financial statements provided by Mesirow in Excel
                          spreadsheets.

9/6/2006   Peterson, L.   Update analysis of Diversified Trust Deed Fund loans         0.2          59.00
                          and interest outstanding and collections through
                          September 1, 2006.

9/6/2006   Peterson, L.   Review information provided by Debtor and other              0.6      177.00
                          parties primarily as a result of FTI data requests,
                          organize information and prepare support
                          documentation binders for asset recovery and other
                          restructuring/plan related work.

9/6/2006   Peterson, L.   Composition of e-mail to Mesirow regarding difference        0.5      147.50
                          in interest calculation in the Franklin-Stratford loan
                          including discussion with C. Harvick

9/6/2006   Tucker, M.     Review summary schedule of loan status report                2.5     1,125.00
                          including potential shortfall issues and timing for
                          repayments; meet with staff on same.

9/7/2006   Harvick, C.    Meet with L. Peterson to discuss Loan History Reports.       0.3      112.50

9/7/2006   Peterson, L.   Review and prepare support documentation for loans           0.7      206.50
                          with Diversified Trust Deed Fund owning 100%
                          including funding and payment support. Discuss with
                          C. Harvick.

9/7/2006   Tucker, M.     Review of loan summary documents potential                   2.7     1,215.00
                          collections of loans, exit fees and originator fees
                          including discussions with T. Burr and Review of T.
                          Burr summary on same.

9/7/2006   Tucker, M.     Draft e-mail to J. Atkinson regarding loan portfolio         0.3      135.00
                          data.

9/8/2006   Peterson, L.   Continue review and prepare support documentation            0.4      118.00
                          for loans with Diversified Trust Deed Fund owning
                          100% including funding and payment support.

9/8/2006   Peterson, L.   Continue review and prepare support documentation            2.7      796.50
                          for loans with Diversified Trust Deed Fund owning
                          100% including funding and payment support.

9/8/2006   Peterson, L.   Begin analysis of the interest paid by borrower for Colt     0.7      206.50
                          loans 100% owned by Diversified Trust Deed Fund,
                          how this matches to the loan agreement and
                          Mesirow's loan schedule.

9/11/2006 Peterson, L.    Begin analysis of the principal funding and payments         3.3      973.50
                          and the interest accrued and paid by borrower for
                          Sheraton Hotel loan based on promissory note and
                          support provided in Mesirow prepared binders.




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Date       Consultant    Description                                               Hours           Fees

9/11/2006 Peterson, L.   Begin analysis of the principal funding and payments        3.6     1,062.00
                         and the interest accrued and paid by borrower for
                         EPIC loan based on promissory note and support
                         provided in Mesirow prepared binders.

9/11/2006 Peterson, L.   Complete analysis of the principal funding and              0.3        88.50
                         payments and interest paid by borrower for Colt loans
                         100% owned by Diversified based on the promissory
                         note and how this compares to Mesirow's loan
                         schedule.

9/12/2006 Harvick, C.    Review of Sheraton Hotel Loan History Report and            0.8       281.25
                         support binder.

9/12/2006 Peterson, L.   Complete analysis of the principal funding and              1.1       324.50
                         payments and the interest accrued and paid by
                         borrower for Sheraton Hotel loan based on
                         promissory note and support provided in Mesirow
                         prepared binders.

9/12/2006 Peterson, L.   Prepare analysis of the principal funding, payments         2.5       737.50
                         and the interest accrued and paid by borrower for
                         EPIC loan based on promissory note and support
                         provided in Mesirow prepared binders.

9/13/2006 Harvick, C.    Review of Weekly Collections Report.                        0.3       112.50

9/13/2006 Harvick, C.    Continue to review the Sheraton Loan History Report         1.3       487.50
                         and supporting documents (bank statements, check
                         copies, Diversified Trust Deed Fund financials etc.) to
                         determine the correct amount owed to Diversified
                         Trust Deed Fund.

9/13/2006 Harvick, C.    Prepare list of 2004 Subpoena recipients.                   0.3       112.50

9/13/2006 Harvick, C.    Continue to review the Sheraton Hotel Loan History          1.5       562.50
                         Report and supporting documents (bank statements,
                         check copies, Diversified Trust Deed Fund financials,
                         etc.) to determine the correct amount owed to
                         Diversified Trust Deed Fund, call S. Smith regarding
                         same; discuss same with L. Peterson.

9/13/2006 Harvick, C.    Review EPIC Loan History Report and supporting              2.9     1,087.50
                         documents (bank statements, check copies,
                         Diversified Trust Deed Fund financials, etc.) to
                         determine the correct amount owed to Diversified
                         Trust Deed Fund and discuss with L. Peterson.

9/13/2006 Peterson, L.   Discussion with C. Harvick regarding Sheraton Hotel         2.2       649.00
                         loan principal and interest tracking schedule and
                         update with C. Harvick changes.

9/13/2006 Peterson, L.   Discussion with C. Harvick regarding EPIC loan              2.3       678.50
                         principal and interest tracking schedule and update
                         with C. Harvick changes.

9/13/2006 Peterson, L.   Review and prepare support documentation for                0.3        88.50
                         recovery efforts.

9/13/2006 Smith, S.      Pacer research for EPIC bankruptcy filing.                  0.8        76.00

9/13/2006 Tucker, M.     Follow up issues on Sheraton loan accounting.               0.3       135.00




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Date       Consultant    Description                                             Hours           Fees

9/14/2006 Peterson, L.   Review default notice letters sent by USA Commercial      0.6       177.00
                         Mortgage to borrowers to ensure letters were sent to
                         all Diversified borrowers in default.

9/14/2006 Peterson, L.   Review all Colt loans' documents for Colt personnel       0.6       177.00
                         signatures, related companies and street addresses.

9/14/2006 Peterson, L.   Update and make C. Harvick's changes to Colt loans,       2.0       590.00
                         EPIC, Sheraton and 10-90 loan schedules.

9/15/2006 Harvick, C.    Revive of EPIC Loan History Report and interest           0.5       187.50
                         issue.

9/15/2006 Harvick, C.    Continue review of Sheraton and EPIC loan history         1.3       487.50
                         reports; discuss with L. Peterson.

9/15/2006 Harvick, C.    Review of interest advances to Diversified Trust Deed     0.4       150.00
                         Fund from USA Commercial Mortgage as of petition
                         date for potential offset issues, e-mail to M. Tucker
                         regarding same.

9/15/2006 Peterson, L.   Discussion with C. Harvick regarding Sheraton Hotel       0.9       265.50
                         loan principal and interest tracking schedule and
                         update with C. Harvick changes.

9/15/2006 Peterson, L.   Review information provided by Debtor and other           0.3        88.50
                         parties primarily as a result of FTI data requests,
                         organize information and prepare support
                         documentation binders for asset recovery and other
                         restructuring/plan related work.

9/15/2006 Peterson, L.   Discussion with C. Harvick regarding EPIC loan            4.2     1,239.00
                         principal and interest tracking schedule and update
                         with C. Harvick changes.

9/15/2006 Tucker, M.     Review cash received to date on Diversified Trust         0.4       180.00
                         Deed Fund loans.

9/18/2006 Peterson, L.   Prepare analysis of the principal funding and             3.3       973.50
                         payments and interest paid by borrower for Interstate
                         Commerce Center and Phase II loans based on the
                         promissory note and bank documents and how this
                         compares to Mesirow's loan schedule.

9/18/2006 Peterson, L.   Review and prepare discs of all loan guarantees and       1.1       324.50
                         Diversified Trust Deed Fund bank statements
                         provided by Mesirow.

9/18/2006 Peterson, L.   Review information provided by Debtor and other           0.5       147.50
                         parties primarily as a result of FTI data requests,
                         organize information and prepare support
                         documentation binders for asset recovery and other
                         restructuring/plan related work.

9/18/2006 Peterson, L.   Update EPIC loan principal and interest tracking          0.2        59.00
                         schedule with C. Harvick changes.

9/18/2006 Tucker, M.     Review August 31, 2006 loan summary report.               0.5       225.00

9/18/2006 Tucker, M.     Review recovered loan guarantee data and obtain           0.3       135.00
                         copies for USA Commercial Mortgage counsel and
                         Diversified Trust Deed Fund counsel.




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Date       Consultant    Description                                                   Hours           Fees

9/19/2006 Belt, D.       Begin review of EPIC loan history documentation and             1.0       415.00
                         related legal filings pursuant to EPIC bankruptcy;
                         discuss with M. Tucker and L. Peterson.

9/19/2006 Peterson, L.   Review information provided by Debtor and other                 0.3        88.50
                         parties primarily as a result of FTI data requests,
                         organize information and prepare support
                         documentation binders for asset recovery and sale
                         efforts, litigation support, financing activities and other
                         restructuring/plan related work.

9/19/2006 Peterson, L.   Prepare documentation binder for EPIC loan to                   1.5       442.50
                         provide to D. Belt for EPIC loan analysis and
                         discussion with D. Belt regarding EPIC loan history.

9/19/2006 Peterson, L.   Prepare analysis of the principal funding and                   3.3       973.50
                         payments and interest paid by borrower for Interstate
                         Commerce Center and Phase II loans based on the
                         promissory note and bank documents and how this
                         compares to Mesirow's loan schedule.

9/19/2006 Peterson, L.   Prepare letter, disc with loan guarantees, and list of          0.3        88.50
                         guarantees to be sent out to J. Hermann and S.
                         Freeman.

9/19/2006 Tucker, M.     Conference with J. Chubb regarding Colt Gateway                 0.2        90.00
                         future servicing and B. Bullard interest with loan.

9/20/2006 Harvick, C.    Call with J. Reed regarding the production of                   0.2        75.00
                         document inventory of documents at the Company,
                         Diversified Trust Deed Fund original prospectus and
                         audited financials.

9/20/2006 Harvick, C.    Review Great White response to S. Strong regarding              0.1        37.50
                         the equitable lien on the Royal Hotel.

9/20/2006 Harvick, C.    Follow-up with L. Peterson regarding the status of the          0.2        75.00
                         Sheraton Loan History Report and creating the
                         August Diversified Trust Deed Fund Loan summary.

9/20/2006 Peterson, L.   Prepare analyses of loans' collections and status as            5.3     1,563.50
                         of August 31, 2006 for all loans and for only
                         Diversified Trust Deed Fund loans including
                         subsequent collections after August 31, 2006.
                         Discuss with C. Harvick.

9/20/2006 Peterson, L.   Prepare analysis of interest accrued on the $18.9               1.3       383.50
                         million receivable due from USA Commercial
                         Mortgage.

9/20/2006 Tucker, M.     Conference with M. Levinson, J. Hermann and A.                  1.4       630.00
                         Jarvis regarding various asset recoveries including
                         EPIC, Colt and other assets.

9/21/2006 Harvick, C.    Review default letters and payoff statements sent to            0.5       187.50
                         Borrowers.

9/21/2006 Harvick, C.    Discussion with L. Peterson concerning possible                 0.6       225.00
                         issues faced when prepareing the principal and
                         interest schedule for the Sheraton Hotel loan.

9/21/2006 Harvick, C.    Review of Diversified Trust Deed Fund financial                 3.6     1,350.00
                         statements, bank statements, general ledger detail,
                         reconciliations and correspondence for November
                         and December of 2005.


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Date       Consultant    Description                                               Hours           Fees

9/21/2006 Peterson, L.   Prepare loan summary as of August 31, 2006 for only         0.6       177.00
                         Diversified loans and e-mail to C. Harvick to provide
                         to Diversified Trust Deed Fund Committee.

9/21/2006 Peterson, L.   Discussion with C. Harvick regarding possible issues        0.6       177.00
                         when preparing the schedule of principal and interest
                         for the Sheraton Hotel loan.

9/21/2006 Peterson, L.   Review BySynergy documents provided in the binders          0.9       265.50
                         created by Mesirow.

9/21/2006 Tucker, M.     Investigate funds held at escrow company including          0.3       135.00
                         money for BySynergy and Oak Mesa.

9/22/2006 Harvick, C.    Review of Colt loan documents and prepare list of           0.3       112.50
                         entities and addresses to run Colt's Dunn and
                         Bradstreet report, e-mail request for report.

9/22/2006 Harvick, C.    Continue review of Diversified Trust Deed Fund              3.3     1,237.50
                         financial statements, bank statements, general ledger
                         detail, reconciliations and correspondence for
                         November and December of 2005.

9/22/2006 Harvick, C.    Review and edit Diversified Trust Deed Fund August          0.3       112.50
                         31, 2006 loan summary for posting on the webpage
                         and e-mail to L. Ernce.

9/22/2006 Harvick, C.    Prepare analysis of principal diverted from Diversified     1.5       562.50
                         Trust Deed Fund ($18.9 million owed from USA
                         Commercial Mortgage) and non-interest bearing
                         amounts loaned to Investment Partners based on
                         review of 2000-2006 Diversified Trust Deed Fund
                         financial statements.

9/22/2006 Harvick, C.    Review BySynergy loan documents and appraisal,              0.5       187.50
                         send e-mail to J. Atkins regarding BySynergy
                         recovery status, value and contact information for
                         Hillco appraiser.

9/22/2006 Harvick, C.    Review and analyze finalized Diversified Trust Deed         1.8       675.00
                         Fund audit reports for 2000-2002 (final) and
                         Diversified Trust Deed Fund audit report for 2003
                         (draft).

9/22/2006 Peterson, L.   Review information provided by Debtor and other             0.9       265.50
                         parties primarily as a result of FTI data requests,
                         organize information and prepare support
                         documentation binders for asset recovery and other
                         restructuring/plan related work.

9/22/2006 Peterson, L.   Update loan summary as of August 31, 2006 for only          0.2        59.00
                         Diversified loans with C. Harvick changes and e-mail
                         to C. Harvick to provide to Diversified Trust Deed
                         Fund Committee.

9/22/2006 Peterson, L.   Review 2003 DRAFT audit for Diversified Trust Deed          0.2        59.00
                         Fund provided by Mesirow.

9/22/2006 Peterson, L.   Receive and review EPIC loan schedule from Mesirow          1.9       560.50
                         and prepare similar schedule to determine Diversified
                         Trust Deed Fund's claim.

9/22/2006 Tucker, M.     Research Diversified Trust Deed Fund accounting             2.2       990.00
                         issues and potential missing loan proceeds.



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Date       Consultant         Description                                               Hours           Fees

9/25/2006 Bellazain-Harris,   Performing company research at request of C.                0.5       207.50
                              Harvick.

9/25/2006 Harvick, C.         Review of EPIC loan history report, Mesirow prepared        1.1       412.50
                              binder, Diversified Trust Deed Fund financial and
                              audit reports and prepare issues/follow-up list.

9/25/2006 Harvick, C.         Review of Hotel Zoso escrow instructions to be              0.3       112.50
                              provided to J. Milanowski for funds to pay Sheraton
                              loan.

9/25/2006 Harvick, C.         Review of Colt and HFA Dunn and Bradstreet reports          1.4       525.00
                              to identify UCCs filed for Diversified Trust Deed Fund,
                              e-mail to A. Loriditch regarding findings and request
                              to pull UCCs filed.

9/25/2006 Harvick, C.         Call to J. Reed and J. Atkinson regarding BySynergy         0.1        37.50
                              value.

9/25/2006 Harvick, C.         Continue review of Diversified Trust Deed Fund              0.8       300.00
                              financial and audit reports and prepare issue/follow-
                              up list.

9/25/2006 Harvick, C.         Review of e-mail from J. Hermann regarding Colt             0.3       112.50
                              guarantees, review Colt guarantees in our possession
                              and send e-mail to J. Hermann in response to his
                              request.

9/25/2006 Harvick, C.         Review of 2003 Diversified Trust Deed Fund audit and        0.4       150.00
                              prepare e-mail to J. Atkinson requesting him to
                              request from Beadle McBride Evans and Reed
                              (auditors), the EPIC agreement between Tree Moss
                              and Diversified Trust Deed Fund from their 2003 work
                              papers.

9/25/2006 Harvick, C.         Participate in discussion of BySynergy with M.              0.2        75.00
                              Levinson and M. Tucker regarding recovery and
                              summary of discussions with Mesirow.

9/25/2006 Harvick, C.         Prepare for and participate in call with A. Stevens         0.8       300.00
                              regarding the recovery status of BySynergy, status of
                              lot sales and request for M&I agreement.

9/25/2006 Peterson, L.        Provide C. Harvick Colt Gateway guarantees, which           0.1        29.50
                              have been received from debtor.

9/25/2006 Peterson, L.        Review information provided by Debtor and other             1.0       295.00
                              parties primarily as a result of FTI data requests,
                              organize information and prepare support
                              documentation binders for asset recovery and other
                              restructuring/plan related work.

9/25/2006 Peterson, L.        Review information provided by Debtor and other             1.0       295.00
                              parties primarily as a result of FTI data requests,
                              organize information and prepare support
                              documentation binders for asset recovery and other
                              restructuring/plan related work.

9/25/2006 Peterson, L.        Updated changes to the EPIC Resort principal and            0.2        59.00
                              interest schedule

9/25/2006 Peterson, L.        Receive and review EPIC loan schedule from Mesirow          0.6       177.00
                              and prepare analysis to determine Diversified Trust
                              Deed Fund's claim. Includes discussion with C.
                              Harvick


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Date       Consultant    Description                                                  Hours           Fees

9/25/2006 Peterson, L.   Reviewing Diversified Trust Deed Fund bank                     1.7       501.50
                         statements to get support for amounts repaid by USA
                         Commercial Mortgage to Diversified Trust Deed Fund.

9/25/2006 Tucker, M.     Research status of BySynergy loan and discuss with             0.4       180.00
                         C. Harvick and M. Levinson.

9/26/2006 Belt, D.       Review EPIC loan schedule and support in                       0.6       249.00
                         preparation for meeting with Mesirow in Las Vegas.

9/26/2006 Harvick, C.    Prepare list of Diversified Trust Deed Fund financial          0.5       187.50
                         statement questions for meeting with P. Cheng and
                         USA Commercial Mortgage accounting department at
                         USA Commercial Mortgage.

9/26/2006 Harvick, C.    Review of the Colt Loan History Reports and                    0.7       262.50
                         comparison to the Diversified Trust Deed Fund
                         financial statements.

9/26/2006 Harvick, C.    Respond to A. Steven regarding the BySynergy                   0.2        75.00
                         document request.

9/26/2006 Harvick, C.    Discussion with L. Peterson regarding Colt Loan                0.4       150.00
                         History Reports.

9/26/2006 Harvick, C.    Review of Colt loan history reports and Diversified            0.3       112.50
                         Trust Deed Fund financial statements.

9/26/2006 Peterson, L.   Make C. Harvick's changes and updates to USA                   0.5       147.50
                         Commercial Mortgage interest schedule of
                         intercompany claims and Diversified Trust Deed Fund
                         loan summary as of August 31, 2006.

9/26/2006 Peterson, L.   Update changes to the EPIC Resort principal and                0.8       236.00
                         interest schedule and discuss with C. Harvick.

9/26/2006 Peterson, L.   Review information provided by Debtor and other                0.1        29.50
                         parties primarily as a result of FTI data requests,
                         organize information and prepare support
                         documentation binders for asset recovery and edit
                         sale efforts, litigation support, financing activities and
                         other restructuring/plan related work.

9/26/2006 Peterson, L.   Compare Colt loans' principal and interest schedules           4.0     1,180.00
                         to Diversified Trust Deed Fund balance sheets and
                         determine and note differences on schedules to follow-
                         up with Debtor.

9/26/2006 Peterson, L.   Prepare documentation and save files on hard drive             0.7       206.50
                         needed while at the Debtor offices on September 27
                         and 28, 2006.

9/27/2006 Belt, D.       Non working travel to Las Vegas for meeting with               2.5     1,037.50
                         Mesirow regarding review of documentation
                         supporting EPIC and Sheraton loan history.

9/27/2006 Belt, D.       Analyze general ledger activity for unrecorded activity        1.8       747.00
                         that should be incorporated into EPIC loan history.

9/27/2006 Belt, D.       Meet with B. Olson to review EPIC bankruptcy                   1.3       539.50
                         documents and court filings for activity affecting loan
                         balance.




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Date       Consultant    Description                                                Hours           Fees

9/27/2006 Belt, D.       Review loan files and historical documents related to        2.7     1,120.50
                         EPIC loan, transfer of property to Tree Moss and
                         bankruptcy pleadings for EPIC (lifting of automatic
                         stay). Meet with C. Harvick and P. Cheng.

9/27/2006 Belt, D.       Discuss detail of $58 million accounts receivable and        0.3       124.50
                         EPIC issues with C. Harvick and L. Peterson.

9/27/2006 Belt, D.       Review USACM and Diversified Trust Deed Fund                 1.3       539.50
                         general ledger documents obtained from Mesirow.

9/27/2006 Harvick, C.    Revise and edit Sheraton Loan History Report and             5.3     1,987.50
                         document transactions based on review of bank
                         statements and general ledger data.

9/27/2006 Harvick, C.    Meeting with J. Reed to discuss loan files needed;           0.2        75.00
                         Colt status and schedule.

9/27/2006 Harvick, C.    Review detail of $58 million accounts receivable and         0.3       112.50
                         EPIC issues with D. Belt and L. Peterson.

9/27/2006 Harvick, C.    Prepare for and meet with D. Belt and P. Cheng to            1.5       562.50
                         discus EPIC issues and work needed to complete
                         Loan History report and issues/status of documents
                         for the $58 million Investment Partner accounts
                         payable; follow-up discussion with D. Belt and L.
                         Peterson regarding FTI next steps and download of
                         documents produced.

9/27/2006 Harvick, C.    Discussion with M. Haftl regarding status of recovery        0.9       337.50
                         for Colt and $6 million Fiesta loan. Call with M. Tucker
                         to discuss EPIC issues and work needed to complete
                         loan History report, Mesirow recovery efforts, and
                         issues/status of documenting the $58 million
                         Investment Partners' accounts receivable.

9/27/2006 Harvick, C.    Prepare for and meet with P. Cheng and L. Bauck              1.7       637.50
                         regarding Sheraton Loan History Report.

9/27/2006 Harvick, C.    Non working travel to Las Vegas for meetings with            2.5       937.50
                         Mesirow regarding EPIC, Sheraton, 10-90 and $58
                         million Investment Partners receivable.

9/27/2006 Harvick, C.    Meeting with S. Smith and P. Cheng regarding FTI's           0.6       225.00
                         agenda and expectations for the next two days and
                         status of asset tracing exercises.

9/27/2006 Harvick, C.    Prepare for and participate in call with J. Hermann          0.2        75.00
                         regarding the Colt billing statements and the status of
                         the Sheraton Loan History Report.

9/27/2006 Peterson, L.   Update Colt loans' principal and interest schedules for      0.5       147.50
                         different funding dates found in Diversified Trust Deed
                         Fund bank statements.

9/27/2006 Peterson, L.   Review Diversified Trust Deed Fund's general ledger          0.7       206.50
                         data provided by Debtor to determine if the general
                         ledger is complete and identify additional support
                         needed.

9/27/2006 Peterson, L.   Review Sheraton loan docs and loan schedule                  0.7       206.50
                         including comparing to general ledger to prepare for
                         discussion with P. Cheng.




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Date       Consultant    Description                                             Hours           Fees

9/27/2006 Peterson, L.   Review general ledger for EPIC and Tree Moss              5.2     1,534.00
                         activity and obtain necessary support of activity and
                         add necessary activity to EPIC loan schedule.

9/27/2006 Peterson, L.   Provide Mesirow with EPIC bankruptcy docs and             0.8       236.00
                         discuss with P. Cheng.

9/27/2006 Peterson, L.   Review and copy to harddrive general ledgers for          0.3        88.50
                         Diversified Trust Deed Fund and USA Commercial
                         Mortgage.

9/27/2006 Peterson, L.   Non working travel time from Phoenix to USA Capital       2.5       737.50
                         to meet with debtor to discuss EPIC, Sheraton, 10-90,
                         Colt loans and gather Diversified Trust Deed Fund
                         general ledgers and loan documents.

9/27/2006 Peterson, L.   Review 2000 and 2001 general ledger and bank              0.3        88.50
                         reconciliation and save PDF files onto harddrive.

9/27/2006 Peterson, L.   Review general ledger for EPIC and Tree Moss              0.1        29.50
                         expenses and obtain necessary support of activity
                         and add necessary activity to EPIC loan schedule.

9/27/2006 Peterson, L.   Review general ledger for Colt DIV #2 loan activity       0.5       147.50
                         and obtain necessary support of activity and add
                         necessary activity to EPIC loan schedule.

9/27/2006 Peterson, L.   Review detail of $58 million accounts receivable and      0.3        88.50
                         EPIC issues with C. Harvick and D. Belt.

9/27/2006 Tucker, M.     Conference with M. Levinson and J. Hermann on             0.4       180.00
                         various asset recovery issues: Sheraton, Colt and
                         Investment Partners recovery.

9/27/2006 Tucker, M.     Conference with C. Harvick on various asset               0.5       225.00
                         recoveries while working at USA Commercial
                         Mortgage.

9/27/2006 Tucker, M.     Review e-mails and related escrow instructions for        0.3       135.00
                         Hotel Zoso proceeds.

9/27/2006 Tucker, M.     Follow up collection issues on Colt Loan.                 0.4       180.00

9/28/2006 Belt, D.       Non working travel back from Las Vegas.                   2.5     1,037.50

9/28/2006 Harvick, C.    Review of EPIC loan files.                                1.3       468.75

9/28/2006 Harvick, C.    Continue to revise and edit Sheraton Loan History         1.9       712.50
                         Report and document transaction by review of bank
                         statements and general ledger data.

9/28/2006 Harvick, C.    Meet with L. Bauck regarding his research and             0.5       187.50
                         documentation of the Sheraton expenses.

9/28/2006 Harvick, C.    Review of Sheraton loan files.                            0.8       300.00

9/28/2006 Harvick, C.    Non working travel back to Phoenix from Las Vegas.        2.6       975.00

9/28/2006 Harvick, C.    Revise and edit Sheraton Loan History Report and          0.8       300.00
                         document transactions by review of bank statements
                         and general ledger data; discuss with L. Peterson.




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Date         Consultant       Description                                            Hours           Fees

9/28/2006 Peterson, L.        Review Sheraton loan history schedule and                0.4       118.00
                              supporting documentation. Including discussion with
                              C. Harvick.

9/28/2006 Peterson, L.        Review Diversified Trust Deed Fund's general ledger      5.0     1,475.00
                              for EPIC and Tree Moss expenses and obtain
                              necessary support of activity and add necessary
                              activity to EPIC loan schedule.

9/28/2006 Peterson, L.        Review EPIC and Tree Moss expense schedule               0.3        88.50
                              created by P. Cheng.

9/28/2006 Peterson, L.        Discussion with P. Cheng regard EPIC and Tree Moss       0.6       177.00
                              funding and expenses.

9/28/2006 Peterson, L.        Review Diversified Trust Deed Fund bank statements       0.2        59.00
                              to identify payments on the Sheraton loan.

9/28/2006 Peterson, L.        Non working travel time from USA Capital to Phoenix      2.5       737.50
                              returning from trip to meet with debtor to discuss
                              EPIC, Sheraton, 10-90, Colt loans and gather
                              Diversified Trust Deed Fund general ledgers and loan
                              documents.

9/28/2006 Tucker, M.          Review Sheraton loan documents and Investor IV           0.5       225.00
                              follow ups.

9/28/2006 Tucker, M.          Review letters for document preservation to              0.2        90.00
                              accountants for Diversified Trust Deed Fund and USA
                              Commercial Mortgage.

9/28/2006 Tucker, M.          Research accounting issues and loan histories and        2.6     1,170.00
                              receipts of cash on notes.

9/29/2006 Harvick, C.         Review of Colt Memorandum of Agreement between           0.5       187.50
                              USA Commercial Mortgage and Homes for America
                              Holdings dated August 22, 2005 e-mail to M. Tucker.

9/29/2006 Peterson, L.        Finalize Sheraton Loan schedule and gather support       4.3     1,268.50
                              for all activity and create support binder

9/29/2006 Peterson, L.        Organize general ledger and EPIC and Sheraton            0.6       177.00
                              documents received while at USA offices and
                              transferring electronic files to FTI's network.

9/29/2006 Peterson, L.        Finalize EPIC Loan schedule and gather support for       3.4     1,003.00
                              all activity and create support binder

9/29/2006 Tucker, M.          Plan additional work for recoveries.                     0.5       225.00

9/29/2006 Tucker, M.          Obtain Colt memo by J. Milanowski.                       0.2        90.00

9/29/2006 Tucker, M.          Conference with A. Loraditch regarding financial         0.5       225.00
                              condition of Diversified Trust Deed Fund and
                              collections to date.

Total for Asset Analysis and Recovery:                                               191.6    65,511.00

Asset Sale
9/1/2006     Tucker, M.       Review and analysis of Racebrook revised Letter of       0.3       135.00
                              Intent.




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Date       Consultant    Description                                                 Hours           Fees

9/3/2006   Tucker, M.    Review various e-mails and revised Letter of Intent           1.9       855.00
                         from Silverpoint in preparation for conference calls on
                         September 4, 2006.

9/4/2006   Tucker, M.    Review revised Letter of Intent to provide to buyer           0.8       360.00
                         after all hands call and numerous related e-mails.

9/4/2006   Tucker, M.    Conference with M. Levinson regarding call with USA           0.3       135.00
                         Commercial Mortgage counsel on revised Letter of
                         Intent terms.

9/4/2006   Tucker, M.    Coordinate call with A. Loraditch for interested buyer        0.2        90.00
                         (California Mortgage and Realty).

9/4/2006   Tucker, M.    Participate in all hands conference call to discuss           1.2       540.00
                         Letter of Intent and sales process.

9/4/2006   Tucker, M.    Participate in conference call with M. Levinson and           0.5       225.00
                         USA Commercial Mortgage professionals to review
                         Letter of Intent status and plan responses prior to
                         group call.

9/4/2006   Tucker, M.    Participate in conference call with M. Levinson               0.3       135.00
                         regarding Letter of Intent status prior to group calls.

9/5/2006   Harvick, C.   Call with M. Levinson to discuss the status of the            0.2        75.00
                         potential bidder #2 and coordination with our
                         Committee.

9/5/2006   Harvick, C.   Call with A. Loriditch to set up a call with a new            0.1        37.50
                         potential bidder.

9/5/2006   Harvick, C.   Call with M. Tucker to discuss the potential bidder #2        0.3       112.50
                         offer and preparation of a loan shortfall report.

9/5/2006   Tucker, M.    Conference with R. Worthen, M. Levinson and L.                0.5       225.00
                         Ernce regarding status and update of Letter of Intent
                         and situation.

9/5/2006   Tucker, M.    Review various Letter of Intent drafts and comments           1.6       720.00
                         by all Committees.

9/5/2006   Tucker, M.    Conference call with B. Fasel and J. Atkinson                 0.9       405.00
                         regarding sale process status and issues.

9/5/2006   Tucker, M.    Conference with A. Loraditch in preparation for call          0.3       135.00
                         with interested buyer (California Mortgage and Realty)
                         and reschedule meeting with buyer.

9/5/2006   Tucker, M.    Participate in all hands call on Letters of Intent            1.9       855.00
                         document and status and follow up discussing with
                         counsel.

9/5/2006   Tucker, M.    Discuss potential bidder #2 offer and loan shortfall          0.3       135.00
                         report with C. Harvick.

9/6/2006   Harvick, C.   Prepare for and participate in call with potential bidder     1.8       656.25
                         (California Mortgage and Realty) regarding
                         information on the Diversified Trust Deed Fund loans.

9/6/2006   Harvick, C.   Participate in call with M. Tucker and M. Levinson            0.7       262.50
                         regarding the revised Buyer Term Sheet, call with
                         potential bidder #4.




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Date       Consultant    Description                                                Hours           Fees

9/6/2006   Tucker, M.    Conference call with M. Levinson, and C. Harvick             0.7       315.00
                         regarding call with buyer #4 and all hands call on
                         Letter of Intent.

9/6/2006   Tucker, M.    Review various revised Letter of Intents and related         1.0       450.00
                         comments by counsels.

9/6/2006   Tucker, M.    Emails and calls to M. Kvarda regarding sale process.        0.1        45.00

9/6/2006   Tucker, M.    Prepare for and participate in conference call with          1.4       630.00
                         California Mortgage and Realty on Diversified Trust
                         Deed Fund assets and other sale issues.

9/6/2006   Tucker, M.    E-mail and calls to T. Burr regarding sale process.          0.1        45.00

9/6/2006   Tucker, M.    Discussion with T. Allison regarding sale process            0.4       180.00
                         issues.

9/7/2006   Tucker, M.    Review several revised Letter of Intents and various e-      2.5     1,125.00
                         mail comments from other Committees.

9/8/2006   Harvick, C.   Participate in all hands call on sale process and            1.7       637.50
                         Letters of Intent.

9/8/2006   Tucker, M.    Review several additional revisions and changes to           1.1       495.00
                         Letter of Intent and Exhibits; read numerous e-mails
                         on same from counsels.

9/8/2006   Tucker, M.    Review revised Letter of Intent from Silverpoint and         3.7     1,665.00
                         participate in all hands call on sale process and Letter
                         of Intent.

9/9/2006   Harvick, C.   Prepare for and participate in all hands Committee           1.2       450.00
                         call regarding potential bidder #2 revisions, upcoming
                         hearing and follow-up items.

9/9/2006   Harvick, C.   Review of potential bidder #2 revisions and e-mails          0.8       281.25
                         regarding same.

9/11/2006 Harvick, C.    Review of potential bidder #2 revisions and e-mails          0.8       281.25
                         regarding same.

9/11/2006 Harvick, C.    Prepare for and participate in all Committee call            1.3       487.50
                         regarding potential bidder #2 revisions, upcoming
                         hearing and follow-up items.

9/11/2006 Tucker, M.     Review revised Letter of Intent and participate in all       1.5       675.00
                         hands call on same.

9/11/2006 Tucker, M.     Review exhibits to Letter of Intent; reply to group and      1.3       585.00
                         participate in call with Mesirow regarding same.

9/12/2006 Harvick, C.    Participate in call with all Committees to discuss the       0.7       262.50
                         potential bidder # 2 offer and the Joint Term Sheet.

9/12/2006 Harvick, C.    Review potential bidder #2 offer and participate in call     1.1       412.50
                         with Unsecured Creditors Committee counsel, M.
                         Tucker, M. Levinson and J. Hermann regarding the
                         potential bidder #2 offer and strategy.

9/12/2006 Tucker, M.     Review list of interested parties for sale from Mesirow      0.4       180.00
                         and send follow up e-mails regarding CMR not on list.




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9/12/2006 Tucker, M.       Participate in all hands conference call on remaining      2.9     1,305.00
                           Letter of Intent and Term Sheet issues; follow up
                           issues on bidder #2 with C. Harvick (part), M.
                           Levinson and J. Hermann.

9/12/2006 Tucker, M.       Review of revised Letter of Intent and related e-mails     0.7       315.00
                           from counsel on changes.

9/13/2006 Tucker, M.       Coordinate meeting on sale process with Debtors.           0.1        45.00

9/15/2006 Tucker, M.       Participate in conference call on bidding procedures       1.0       450.00
                           with B. Fasel, J. Reed, M. Kvarda and T. Burr.

9/15/2006 Tucker, M.       Draft e-mail on bid procedure issues and no                0.1        45.00
                           exclusivity extension from First Trust Deed Fund to
                           Diversified Trust Deed Fund and USA Commercial
                           Mortgage professionals.

9/19/2006 Tucker, M.       Review bid procedures and MAC clause comments              0.9       405.00
                           and issues.

9/19/2006 Tucker, M.       Discussion with A. Loraditch regarding CMR interest        0.2        90.00
                           in Diversified Trust Deed Fund and other assets.

9/21/2006 Harvick, C.      Review of Schedule of Monies held for disbursement         0.2        75.00
                           provided to Silverpoint, e-mail to J. Reed regarding
                           the release of funds to lenders.

9/21/2006 Tucker, M.       Discuss bid procedures and sale process with M.            0.8       360.00
                           Levinson, A. Loraditch and B. Olson including how
                           process could include Diversified Trust Deed Funds
                           assets.

9/21/2006 Tucker, M.       Review data being provided to Silverpoint in due           0.3       135.00
                           diligence.

9/21/2006 Tucker, M.       Review and comment on various bid procedure drafts.        1.4       630.00

9/22/2006 Tucker, M.       Participate in sale process status update call with        0.6       270.00
                           Debtor and Committee professionals; send follow up
                           e-mail to California Mortgage and Realty regarding
                           process.

9/25/2006 Harvick, C.      Review of Debtor's auction motion.                         0.3       112.50

9/29/2006 Tucker, M.       Conference with R. Goe of Suncal with M. Levinson          0.5       225.00
                           and J. Hermann regarding interest in Diversified Trust
                           Deed Fund assets.

Total for Asset Sale:                                                                45.8    19,758.75

Case Administration
9/1/2006    Harvick, C.    Update FTI USA Commercial Mortgage workplan.               0.5       187.50

9/1/2006    Tucker, M.     Prepare resolution to workplan issues.                     0.2        90.00

9/1/2006    Tucker, M.     Review Las Vegas Review article and follow up issues       0.5       225.00
                           and e-mails related to comment about Diversified
                           Trust Deed Fund distributions.

9/7/2006    Peterson, L.   Discussion with C. Harvick on analysis and work plan.      0.5       147.50




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Date       Consultant            Description                                               Hours           Fees

9/15/2006 Harvick, C.            Review of USA Commercial Mortgage website posting           0.3       112.50
                                 regarding the distribution of funds and summary of
                                 September 13, 2006 hearing.

9/15/2006 Harvick, C.            Review of workplan with L. Peterson (part) and M.           1.0       375.00
                                 Tucker.

9/15/2006 Peterson, L.           Discuss USA workplan with M. Tucker and C. Harvick.         0.6       177.00

9/15/2006 Tucker, M.             Review and edit work plan for projects needing further      1.5       675.00
                                 analysis; discuss with C. Harvick and L. Peterson.

9/18/2006 Peterson, L.           Prepare workplan for analyzes to be completed by me         1.3       383.50
                                 based on discussion with M. Tucker and C. Harvick.

9/18/2006 Schwartz, J.           Print case docket and provide to M. Tucker for review.      0.2        59.00

9/20/2006 Schwartz, J.           Download and print docket items for M. Tucker to            0.3        88.50
                                 review.

9/21/2006 Tucker, M.             Review motion for ordinary course professionals and         0.6       270.00
                                 respond to Diversified Trust Deed Fund team on
                                 retention of Beatle firm who prepared Diversified Trust
                                 Deed Funds audits.

9/26/2006 Belt, D.               Discuss workplan to be accomplished while at the            0.2        83.00
                                 Debtor on September 27 and 28 with C. Harvick and
                                 L. Peterson.

9/26/2006 Harvick, C.            Discussion with D. Belt and L. Peterson regarding the       0.2        75.00
                                 work plan when at the Debtor on September 27 and
                                 28, 2006.

9/26/2006 Harvick, C.            Review, respond and send follow-up e-mail to Debtor         0.2        75.00
                                 regarding Diversified Trust Deed Fund share
                                 certificates.

9/26/2006 Harvick, C.            Discuss workplan and next steps with M. Tucker.             0.3       112.50

9/26/2006 Harvick, C.            Send e-mail requesting space and meeting time with          0.1        37.50
                                 Leanne at USA Commercial Mortgage.

9/26/2006 Peterson, L.           Discuss with C. Harvick and D. Belt the workplan to         0.2        59.00
                                 be accomplished while at the Debtor on September
                                 27 and 28, 2006.

9/26/2006 Tucker, M.             Discuss workplan and next steps with C. Harvick.            0.3       135.00

9/26/2006 Tucker, M.             Review docket for new filings and relevant issues to        0.3       135.00
                                 Diversified Trust Deed Fund.

Total for Case Administration:                                                               9.3     3,502.50

Claims Administration and Objections
9/5/2006    Harvick, C.          Review of FTI prepared loan shortfall report.               0.3       112.50

9/5/2006    Peterson, L.         Update analyses of loans' collections and status            1.7       501.50
                                 through August for all loans and loans guaranteed by
                                 J. Milanowski and T. Hantges including discussion
                                 with C. Harvick.




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9/6/2006   Harvick, C.    Review FTI prepared Loan Status Report broken              1.2       450.00
                          down by performance status and guarantees by J.
                          Milanowski and T. Hantges; meet with L. Peterson
                          and M. Tucker regarding same.

9/6/2006   Peterson, L.   Update analyses of loans' collections and status           4.1     1,209.50
                          through September 1, 2006 for all loans and loans
                          guaranteed by J. Milanowski and T. Hantges and
                          compare with Sierra Consulting's schedule for fees
                          and appraisal value. Includes discussion with C.
                          Harvick.

9/6/2006   Peterson, L.   Prepare and review analyses of loans' collections and      1.3       383.50
                          status through September 1, 2006 for all loans and
                          loans guaranteed by J. Milanowski and T. Hantges
                          with M. Tucker and C. Harvick.

9/6/2006   Peterson, L.   Discuss updated analyses of loans' collections and         1.7       501.50
                          status through September 1, 2006 for all loans and
                          loans guaranteed by J. Milanowski and T. Hantges
                          with M. Tucker and C. Harvick's changes

9/7/2006   Peterson, L.   Updated analyses of loans' collections and status          3.5     1,032.50
                          through September 1, 2006 for all loans and loans
                          guaranteed by J. Milanowski and T. Hantges with M.
                          Tucker and C. Harvick's changes.

9/7/2006   Tucker, M.     Review Highland Capital objection to amended motion        1.2       540.00
                          to distribute related to EPIC and follow up EPIC owed
                          amounts.

9/11/2006 Schwartz, J.    Review drafts of the various proof of claims and           0.3        88.50
                          instructions. Provide comments to M. Tucker based
                          on my review.

9/18/2006 Belt, D.        Discuss EPIC loan, impact of objection to Highland         0.8       332.00
                          claim on EPIC and Diversified Trust Deed Fund
                          Committee's objection to claim with M. Tucker and B.
                          Olson; additional discussion with L. Peterson and M.
                          Tucker.

9/18/2006 Harvick, C.     Telephone conference with M. Levinson, M. Tucker           0.5       187.50
                          and J. Hermann regarding USA Commercial
                          Mortgage Committee objection to allocation of
                          debtor's professional fees and manner of responding
                          to the same.

9/18/2006 Peterson, L.    Discussion with M. Tucker and D. Belt regarding EPIC       0.3        88.50
                          and claim objection to Highland Capital.

9/18/2006 Schwartz, J.    Review objection to fee applications filed by              0.5       147.50
                          Unsecured Creditors Committee. Note main
                          objections.

9/18/2006 Tucker, M.      Research issues on EPIC and discuss claim objection        1.6       720.00
                          to Highland capital on EPIC with D. Belt and B. Olson;
                          additional discussion with D. Belt and L. Peterson.

9/18/2006 Tucker, M.      Review USA Commercial Mortgage's reply to fee              1.2       540.00
                          application of Debtors and discuss with Diversified
                          Trust Deed Fund professionals.

9/19/2006 Belt, D.        Review Highland proof of claim and compare issues          1.3       539.50
                          raised to draft of objection to claim prepared by
                          counsel for Diversified Trust Deed Fund Committee.


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Date       Consultant    Description                                               Hours           Fees

9/19/2006 Harvick, C.    Review of US Trustee's objection to fee applications.       0.1        37.50

9/19/2006 Harvick, C.    Review Highland Objection prepared by Beckley               0.4       150.00
                         Singleton regarding the EPIC property.

9/19/2006 Peterson, L.   Review of the EPIC Proof of Claim and the Objection         1.0       295.00
                         to be filed by Diversified and discuss with M. Tucker
                         and D. Belt.

9/19/2006 Schwartz, J.   Summarize and review fee application objections filed       0.7       206.50
                         by the US Trustee. Forward to M. Tucker.

9/19/2006 Schwartz, J.   Download and print fee applications filed by other          1.4       413.00
                         professionals for the June and July 2006 fee period.

9/19/2006 Tucker, M.     Review issues on EPIC history and objection to              1.9       855.00
                         Highland Capital claim; discuss same with A.
                         Loraditch.

9/20/2006 Harvick, C.    Prepare e-mail to L. Ernce providing draft response to      0.6       225.00
                         Unsecured Creditors Committee's objection and
                         reallocation of Debtor professional fees.

9/20/2006 Harvick, C.    Prepare for and discuss with L. Ernce the strategy in       0.2        75.00
                         responding to UCC's objection and reallocation of
                         Debtor professional fees.

9/20/2006 Harvick, C.    Review Unsecured Creditors Committee's objection            1.1       412.50
                         and reallocation of Debtor's professional fees.

9/20/2006 Schwartz, J.   Download and print additional fee applications filed by     1.4       413.00
                         other professionals.

9/20/2006 Tucker, M.     Conference with M. Levinson and J. Hermann                  0.9       405.00
                         regarding USA Commercial Mortgage Committee fee
                         application response.

9/25/2006 Harvick, C.    Send e-mail to L. Ernce regarding Diversified Trust         0.2        75.00
                         Deed Fund Committee call and status of response to
                         Unsecured Creditors Committee's objection to fees.

9/25/2006 Peterson, L.   Continue to review and organize the documentation           3.8     1,121.00
                         for the Mesirow and Ray Quinney fee application filed
                         on August 31, 2006.

9/26/2006 Peterson, L.   Review and organize the documentation for the               0.6       177.00
                         Mesirow and Ray Quinney fee application filed on
                         August 31, 2006.

9/27/2006 Tucker, M.     Review Standard Property Development relief from            0.2        90.00
                         stay motion and supporting documents.

9/27/2006 Tucker, M.     Review Spectrum relief from stay documents                  0.8       360.00
                         including original complaint for potential issues and
                         claims to Diversified Trust Deed Fund and Investment
                         Partners assets and entities.

9/27/2006 Tucker, M.     Review Mesirow and Ray Quinney responses to fee             0.3       135.00
                         objections.

9/29/2006 Harvick, C.    Revive of e-mails regarding Diversified Trust Deed          0.4       150.00
                         Fund member inquires specifically: 2005 K1s for
                         Diversified Trust Deed Fund members, Diversified
                         Trust Deed Fund proof of claims and letter to
                         Diversified investors.


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9/29/2006 Tucker, M.           Review e-mails from two investors regarding POC            0.2        90.00
                               filings and Diversified Trust Deed Fund investigation
                               status.

Total for Claims Administration and Objections:                                          37.7    13,060.00

Collection Account Distributions and Related Disputes
9/1/2006    Belt, D.           Review and revise co-mingling analysis and forward         2.5     1,037.50
                               data to M. Tucker.

9/1/2006    Tucker, M.         Review cash in collection account issues and               1.3       585.00
                               allocation of unremitted amounts.

9/4/2006    Tucker, M.         Review draft fraudulent conveyance suit by USA             0.3       135.00
                               Commercial Mortgage counsel and e-mail Diversified
                               Trust Deed Fund counsel regarding same.

9/5/2006    Tucker, M.         Review letters sent to investors with comments on suit     0.7       315.00
                               issues and other website postings.

9/6/2006    Harvick, C.        Review of Draft Complaint to Avoid Fraudulent              0.5       187.50
                               Transfers prepared by Lewis and Roca and e-mails
                               regarding same.

9/12/2006 Tucker, M.           Follow up open issues on pre petition cash in account      0.8       360.00
                               and e-mail S. Smith regarding same.

9/13/2006 Harvick, C.          Review of Diversified Trust Deed Fund Holdfund             0.2        75.00
                               Activity Report and e-mail to M. Tucker and
                               Diversified Trust Deed Fund counsel.

9/13/2006 Tucker, M.           Review monthly operating reports.                          0.4       180.00

9/15/2006 Tucker, M.           Review postings on USA website including                   0.2        90.00
                               September 13, 2006 hearing, motion to distribute and
                               other postings.

9/25/2006 Tucker, M.           Finalize FTI review of cash remaining in collection        2.8     1,260.00
                               account.

Total for Collection Account Distributions and Related Disputes:                          9.7     4,225.00

Court Hearings
9/12/2006 Tucker, M.           Confer with A. Loraditch in preparation for court          0.3       135.00
                               hearings.

9/12/2006 Tucker, M.           Review court agenda for September 13, 2006 hearing.        0.1        45.00

9/29/2006 Tucker, M.           Conference with J. Hermann and M. Levinson                 0.2        90.00
                               regarding court hearings information from September
                               28, 2006.

Total for Court Hearings:                                                                 0.6       270.00

Employment/Fee Applications
9/1/2006    Smith, S.          Edit and review narrative for first fee application.       0.8        76.00

9/6/2006    Smith, S.          Download time and expense for August and begin             3.5       332.50
                               formatting.

9/7/2006    Smith, S.          Continue formatting time and expense for August.           1.5       142.50


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9/9/2006    Smith, S.        Format time and expense for August.                         1.1       104.50

9/12/2006 Smith, S.          Reconcile codes and spelling.                               2.9       275.50

9/13/2006 Schwartz, J.       Review August time detail for accuracy and                  2.5       737.50
                             consistency. Note revisions needed.

9/13/2006 Schwartz, J.       Modify August time detail based on review.                  1.3       383.50

9/13/2006 Smith, S.          Prepare expenses for August.                                0.5        47.50

9/14/2006 Schwartz, J.       Continue to review August time detail for accuracy          2.2       649.00
                             and consistency. Print exhibits.

9/14/2006 Smith, S.          Create expense support binder.                              1.5       142.50

9/15/2006 Schwartz, J.       Update August time detail for those entries that were       0.8       236.00
                             truncated during import.

9/15/2006 Schwartz, J.       Perform final review of August time detail for              1.2       354.00
                             consistency. Prepare and provide exhibits to C.
                             Harvick for review.

9/17/2006 Harvick, C.        Review time detail for fee application.                     1.0       375.00

9/18/2006 Harvick, C.        Review of time detail for fee application.                  0.8       281.25

9/18/2006 Schwartz, J.       Modify August expense detail for consistency.               0.3        88.50

9/18/2006 Schwartz, J.       Incorporate revisions noted by C. Harvick based on          1.4       413.00
                             review of the August time detail.

9/19/2006 Schwartz, J.       Update narrative to reflect slight modification in          0.3        88.50
                             project code task. Provide narrative and exhibits to M.
                             Tucker for final review.

9/19/2006 Schwartz, J.       Incorporate approval language into narrative based          0.3        88.50
                             on review of other professionals hired by Diversified.
                             Provide M. Tucker with revised narrative.

Total for Employment/Fee Applications:                                                  23.9     4,815.75

Financing
9/20/2006 Peterson, L.       Prepare summary of all the financial schedules from         0.3        88.50
                             the monthly operating reports for Diversified Trust
                             Deed Fund.

9/21/2006 Peterson, L.       Prepare summary of all the financial schedules from         2.9       855.50
                             the monthly operating reports for Diversified.

9/26/2006 Tucker, M.         Research cash budget and cash status.                       0.6       270.00

Total for Financing:                                                                     3.8     1,214.00

IP/10-90/Ashby Recovery
9/1/2006    Harvick, C.      Review FTI prepared schedule of loans guaranteed            0.5       187.50
                             by J. Milanowski and T. Hantges updated August 18,
                             2006.




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Date       Consultant     Description                                               Hours           Fees

9/1/2006   Peterson, L.   Update analyses of loans' collections and status            0.5       147.50
                          through August for all loans and loans guaranteed by
                          J. Milanowski and T. Hantges including discussion
                          with M. Tucker.

9/1/2006   Peterson, L.   Update analyses of loans' collections and status            0.8       236.00
                          through August for loan guaranteed by J. Milanowski
                          and T. Hantges including discussion with C. Harvick.

9/1/2006   Tucker, M.     Discuss analyses of loans' collections and status           0.2        90.00
                          through August for all loans and loans guaranteed by
                          J. Milanowski and T. Hantges with L. Peterson.

9/5/2006   Harvick, C.    Review of postings from USA Investors' Google               1.4       525.00
                          Group for information on Investment Partners, J.
                          Milanowski and T. Hantges assets and business
                          deals. Discuss with L. Peterson.

9/5/2006   Harvick, C.    Call with P. Chang regarding the status of the              0.2        75.00
                          production of Ashby documents.

9/5/2006   Harvick, C.    Call to P. Chang regarding request and status of the        0.1        37.50
                          production of Ashby documents.

9/5/2006   Tucker, M.     Research and follow up issues on getting information        1.2       540.00
                          from Investment Partners and J. Milanowski.

9/6/2006   Harvick, C.    Participate in call with Counsel and M. Tucker              0.3       112.50
                          regarding status of 10-90 collection efforts,
                          cooperation of J. Milanowski and strategy moving
                          forward.

9/6/2006   Peterson, L.   Research on the Google investor chat room for               0.6       177.00
                          discussion about R. Russell and Investment Partners
                          assets.

9/6/2006   Tucker, M.     Conference with counsel and C. Harvick on                   0.8       360.00
                          Investment Partners and J. Milanowski issues; follow
                          up and review various documents and request of J.
                          Milanowski.

9/7/2006   Harvick, C.    Review and edit list of loans guaranteed by J.              0.5       187.50
                          Milanowski and T. Hantges and prepare and send e-
                          mail summarizing the report.

9/7/2006   Peterson, L.   Review and prepare support documentation for                0.8       236.00
                          recovery efforts regarding USA Investment Partners.

9/7/2006   Peterson, L.   Research and review on the Google investor chat             1.1       324.50
                          room for discussion about R. Russell and Investment
                          Partners assets.

9/7/2006   Tucker, M.     Participate in several short conference calls with M.       0.4       180.00
                          Levinson and J. Hermann regarding Investment
                          Partners and Ashby issues.

9/8/2006   Harvick, C.    Prepare for and participate in conference call              2.1       787.50
                          regarding Ashby entities with J. Mahony, M. Levinson,
                          J. Hermann and M. Tucker; follow up discussion with
                          team.

9/8/2006   Harvick, C.    Conference call with T. Allison and A. Jarvis regarding     1.7       637.50
                          Investment Partners issues and repayment.




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9/8/2006   Harvick, C.    Conference call with M. Levinson and M. Tucker              0.4       150.00
                          regarding Investment Partners management.

9/8/2006   Peterson, L.   Research and review on the Google investor chat             0.8       236.00
                          room for discussion about R. Russell and Investment
                          Partners assets.

9/8/2006   Tucker, M.     Conference with M. Levinson and C. Harvick                  0.4       180.00
                          regarding Investment Partners management.

9/8/2006   Tucker, M.     Prepare for and participate in conference call              1.8       810.00
                          regarding Ashby entities with J. Mahony, M. Levinson,
                          J. Hermann and C. Harvick; follow up discussion with
                          team and other follow up.

9/8/2006   Tucker, M.     Conference with T. Allison and A. Jarvis regarding          1.7       765.00
                          Investment Partners issues and repayment.

9/11/2006 Harvick, C.     Call with P. Chang regarding the status of the              0.2        75.00
                          production of Ashby documents.

9/11/2006 Harvick, C.     Review Roripaugh follow-up request list and e-mail to       0.6       225.00
                          J. Mahoney and discussion with M. Tucker regarding
                          same.

9/11/2006 Tucker, M.      Conference with M. Levinson and M. Hermann                  1.1       495.00
                          regarding their discussion with Ashby and Ashby
                          follow up issues; follow up Ashby issues from call
                          including drafting response to Mahoney for counsel;
                          discussion with C. Harvick regarding same.

9/11/2006 Tucker, M.      Prepare for and participate in conference call with         3.0     1,350.00
                          Debtor and Diversified Trust Deed Fund Counsel on
                          Investment Partners and Ashby issues; follow up
                          discussion with Diversified Trust Deed Fund Counsel
                          and research various issues.

9/11/2006 Tucker, M.      Review David Fogg documents and 10-90 information.          1.8       810.00

9/12/2006 Harvick, C.     Draft and send e-mail to Committee professionals            0.2        75.00
                          regarding the loans guaranteed by J. Milanowski and
                          T. Hantges.

9/12/2006 Peterson, L.    Begin to prepare analysis of the principal funding,         0.6       177.00
                          payments and interest paid by borrower for 10-90 loan
                          based on the promissory note and bank documents
                          and compare to Mesirow's loan schedule.

9/12/2006 Peterson, L.    Prepare analysis of the principal funding, payments         0.5       147.50
                          and interest paid by borrower for Fiesta Development
                          McNaughton loan based on the promissory note and
                          how this compares to Mesirow's loan schedule.

9/12/2006 Peterson, L.    Organize the documents sent from D. Fogg to T.              0.3        88.50
                          Allison regarding Stoneridge, Bundy Canyon, and 10-
                          90 into smaller files in order to be small enough to e-
                          mail.

9/13/2006 Harvick, C.     Review J. Milanowski proposal and participate in call       1.1       412.50
                          with J. Milanowski and counsel, T. Allison, A. Jarvis,
                          M. Tucker, J. Hermann and M. Levinson.




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9/13/2006 Peterson, L.   Continue analysis of the principal funding, payments        2.3       678.50
                         and interest paid by borrower for 10-90 loan based on
                         the promissory note and bank documents and
                         compare to Mesirow's loan schedule.

9/13/2006 Tucker, M.     Participate in and follow up after conference call with     3.2     1,440.00
                         J. Milanowski, Russ Walker, T. Allison, A. Jarvis, M.
                         Levinson, J. Hermann and C. Harvick regarding
                         Investment Partners proposal to repay debts.

9/13/2006 Tucker, M.     Participate in several calls with M. Levinson, J.           1.3       585.00
                         Hermann, R. Ashby and J. Mahony regarding various
                         Investment Partners interests in property which is 10-
                         90 collateral.

9/13/2006 Tucker, M.     Follow up issues on amount of claims due from               0.2        90.00
                         Investment Partners.

9/14/2006 Harvick, C.    Review 10-90 Loan History Report and supporting             1.8       675.00
                         documents (bank statements, check copies,
                         Diversified Trust Deed Fund financials, etc.) to
                         determine the correct amount owed to Diversified
                         Trust Deed Fund.

9/14/2006 Harvick, C.    Review of David Fogg documents (bank statements,            0.8       300.00
                         financials, etc.)

9/14/2006 Harvick, C.    Prepare list of 2004 recipients, review loan                1.8       675.00
                         documents, Investment Partners organization charts
                         and other support documents regarding same.

9/14/2006 Peterson, L.   Complete analysis of the principal funding, payments        4.0     1,180.00
                         and interest paid by borrower for 10-90 loan based on
                         the promissory note and bank documents and
                         compare to Mesirow's loan schedule.

9/14/2006 Peterson, L.   Review and prepare support documentation for                0.4       118.00
                         documents received from D. Fogg, regarding
                         Stoneridge, Bundy Canyon and the 10-90 loan.

9/14/2006 Peterson, L.   Review D. Fogg documents regarding sale of                  0.2        59.00
                         Stoneridge.

9/14/2006 Peterson, L.   Discussion with C. Harvick regarding 10-90, Inc. loan       2.0       590.00
                         principal and interest tracking schedule and update
                         with C. Harvick changes.

9/14/2006 Tucker, M.     Review default letters sent to borrowers and send 10-       1.3       585.00
                         90 letter to counsel with comments and issues; follow
                         up analysis and discuss same with counsel.

9/15/2006 Harvick, C.    Review of 10-90 loan documents (note, assignment,           0.8       300.00
                         loan extensions) to determine default date and
                         remedies, e-mail to Diversified Trust Deed Fund
                         counsel and M. Tucker regarding same.

9/15/2006 Peterson, L.   Update 10-90 loan funding schedule with bank                1.3       383.50
                         account numbers where the funding was wired.

9/15/2006 Tucker, M.     Conference with M. Levinson and J. Hermann                  0.4       180.00
                         regarding Investment Partners issues and next steps.




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9/15/2006 Tucker, M.     Conference with Diversified Trust Deed Fund Counsel           2.2       990.00
                         on Investment Partners issues including alternatives
                         to gaining asset control; plan follow up needed and
                         review documents.

9/18/2006 Harvick, C.    Participate in call with M. Levinson, J. Hermann, M.          0.4       150.00
                         Tucker, T. Allison, A. Jarvis, R. Walker, J. Deringer, J.
                         Milanowski, J. Mahoney, P. McNicolas, L. Redman
                         and R. Ashby regarding Oak Valley contract,
                         Ashby/Milanowski release of documents for
                         Roripaugh, Oak Valley, and Stoneridge.

9/18/2006 Peterson, L.   Prepare analysis of the principal funding and                 1.2       354.00
                         payments and interest paid by borrower for Ten-
                         Ninety, Ltd. loan based on the promissory note and
                         bank documents and compare to Mesirow's loan
                         schedule.

9/18/2006 Tucker, M.     Review letter to Ashby from J. Milanowski drafted by          0.3       135.00
                         Diversified Trust Deed Fund Counsel for access to
                         documents of Fiesta Development and Ashby.

9/18/2006 Tucker, M.     Read and analyze September 18 letter from J.                  0.8       360.00
                         Mahoney regarding Roripaugh Ranch issues and
                         proposal for changes to Investment Partners
                         membership interest; draft e-mail to Diversified Trust
                         Fund counsel on same.

9/18/2006 Tucker, M.     Conference with M. Levinson and J. Hermann                    0.4       180.00
                         regarding Investment Partners issues.

9/18/2006 Tucker, M.     Prepare for call with Ashby, T. Allison, A. Jarvis, M.        1.2       540.00
                         Levinson, J. Hermann and C. Harvick regarding
                         Investment Partners loan recovery and participate in
                         call with Ashby group, Debtor and Diversified Trust
                         Deed Fund professionals regarding Investment
                         Partners assets.

9/19/2006 Harvick, C.    Review e-mail from M. Levinson regarding discussion           0.2        75.00
                         with R. Walker and e-mail regarding the Ashby letters.

9/19/2006 Peterson, L.   Prepare database of all Investment Partners related           1.3       383.50
                         entities including detail on ownership and managers.

9/19/2006 Tucker, M.     Additional conference with M. Levinson and J.                 0.8       360.00
                         Hermann regarding Investment Partners follow up
                         issues and letter from Ashby Counsel.

9/19/2006 Tucker, M.     Conference with J. Hermann and M. Levinson                    0.5       225.00
                         regarding allocation of Investment Partners assets
                         pledged to $58 million loan.

9/19/2006 Tucker, M.     Review of Investment Partners settlement agreement            0.8       360.00
                         on $58 million agreement and issues for plan and
                         settlement with USA Commercial Mortgage.

9/20/2006 Peterson, L.   Continue preparing database of all Investment                 2.4       708.00
                         Partners related entities including detail on ownership
                         and managers.

9/21/2006 Harvick, C.    Review assignment of Investment Partners Collateral           0.3       112.50
                         to 10-90 for clarification of security and e-mail to
                         Diversified Trust Deed Fund Committee counsel
                         regarding same.



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9/21/2006 Harvick, C.    Review of general ledger detail that comprises the         2.5       937.50
                         $58 million accounts receivable from Investment
                         Partners, trace Diversified Trust Deed Fund funds to
                         Investment Partners that are included as part of the
                         $58 million.

9/21/2006 Harvick, C.    Prepare for and discuss with M. Tucker project status,     0.4       150.00
                         priority work and additional follow up needed for
                         Ashby/Milanowski negotiations.

9/21/2006 Harvick, C.    Review of Amendment to Ashby USA Operating                 0.4       150.00
                         Agreement.

9/21/2006 Tucker, M.     Analysis of $58 million accounts receivable from           2.4     1,080.00
                         Investment Partners to USA Commercial Mortgage
                         and implication to the funds of The First Trust and
                         Diversified Trust Deed Fund.

9/21/2006 Tucker, M.     Discuss project status, priority work and follow up        0.2        90.00
                         needed for Ashby/Milanowski negotiations with C.
                         Harvick.

9/21/2006 Tucker, M.     Analysis of Investment Partners settlement agreement       0.8       360.00
                         and follow up collateral issues.

9/22/2006 Peterson, L.   Create schedule with different groups of where the         2.5       737.50
                         money went to for the $58.4 million USA Commercial
                         Mortgage accounts receivable from Investment
                         Partners using the detail of the USA Ccommercial
                         Mortgage accounts receivable from Investment
                         Partners provided by Mesirow.

9/25/2006 Harvick, C.    Review of 10-90 support documents (Mesirow, Fogg,          0.9       337.50
                         and Ashby provided) and prepare question/follow-up
                         list for site visit.

9/25/2006 Harvick, C.    Participate in call with P. Cheng and P. McNicholas        0.7       262.50
                         (part) regarding Ashby document request and status,
                         review request and prepare follow-up e-mail to P.
                         McNicholas and J. Mahoney regarding same.

9/25/2006 Harvick, C.    Reply to P. Cheng e-mail regarding Ashby request.          0.2        75.00

9/25/2006 Peterson, L.   Update documentation used to support the 10-90, Inc.       0.2        59.00
                         principal and interest schedule.

9/25/2006 Tucker, M.     Review revised letter from J. Milanowski counsel on        0.6       270.00
                         access to Ashby information; review e-mail to P.
                         McNichols regarding obtaining documents; other
                         Investment Partners follow up.

9/26/2006 Tucker, M.     Plan work on detail analysis of $58 million accounts       0.6       270.00
                         receivable from Investment Partners noting issues
                         impacting Diversified Trust Deed Fund including
                         checks held and $11 million funding from 10-90 loan.

9/27/2006 Peterson, L.   Review Diversified Trust Deed Fund general ledger          0.5       147.50
                         for Ten-Ninety, Ltd. activity and obtain necessary
                         support of all activity and add necessary activity to
                         Ten-Ninety, Ltd. loan schedule.

9/28/2006 Belt, D.       Revise FTI analysis of accounts receivable                 2.7     1,120.50
                         Investment Partners account activity grouping,
                         including discussion with L. Peterson.



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Date       Consultant    Description                                              Hours           Fees

9/28/2006 Belt, D.       Follow up discussion with C. Harvick regarding             0.3       124.50
                         accounts receivable-Investment Partners account
                         activity and accounting entries required to properly
                         reflect transactions.

9/28/2006 Belt, D.       Meet with L. Weese and C. Harvick to discuss               0.5       207.50
                         supporting detail for cash activity recorded in
                         accounts receivable-Investment Partners account.

9/28/2006 Belt, D.       Investigate "unknown" entry for $15 million on 9/30/04     1.0       415.00
                         in accounts receivable-Investment Partners account.
                         Obtain detail of transaction from L. Weese and revise
                         FTI analysis.

9/28/2006 Belt, D.       Identify detail data supporting 1/1/04 opening $11.1       2.3       954.50
                         million balance in accounts receivable-Investment
                         Partners account per review of 2003 and 2002
                         general ledger activity.

9/28/2006 Harvick, C.    Review of detail of $58 million accounts receivable        0.6       225.00
                         specifically $15 million of Diversified Trust Deed
                         Fund's diverted principal.

9/28/2006 Harvick, C.    Review of 10-90 loan files.                                0.6       206.25

9/28/2006 Harvick, C.    Meet with L. Weese and D. Belt regarding Diversified       0.5       187.50
                         Trust Deed Funds accounting issues, and questions
                         regarding $58 million Investment Partner's receivable
                         to determine what amount was funded by Diversified
                         Trust Deed Fund.

9/28/2006 Harvick, C.    Follow-up discussion with D. Belt regarding                0.3       112.50
                         Diversified Trust Deed Fund accounting issues, and
                         questions regarding the $58 million Investment
                         Partners receivable to determine what amount was
                         funded by Diversified Trust Deed Fund.

9/28/2006 Peterson, L.   Discuss with D. Belt the tracking of the $58 million       0.2        59.00
                         accounts receivable from Investment Partners on the
                         USA Commercial Mortgages general ledger.

9/29/2006 Belt, D.       Reclassify items in accounts receivable-Investment         0.7       290.50
                         Partners analysis based on review and discussion of
                         nature of activity recorded on books.

9/29/2006 Belt, D.       Break down 2003 general ledger activity and                2.3       954.50
                         incorporate details into FTI analysis of accounts
                         receivable-Investment Partners account on USA
                         Commercial Mortgage books.

9/29/2006 Belt, D.       Break down 2002 general ledger activity and                2.2       913.00
                         incorporate details into FTI analysis of accounts
                         receivable-Investment Partners account on USA
                         Commercial Mortgage books.

9/29/2006 Tucker, M.     Conference with M. Levinson regarding 10-90 loan           0.3       135.00
                         and next steps.

9/29/2006 Tucker, M.     Review additional letter to accountants regarding          0.2        90.00
                         preserving Investment Partners related documents.

9/29/2006 Tucker, M.     Investigate accounting issues with Investment              1.4       630.00
                         Partners accounts receivable and Diversified Trust
                         Deed Funds financial statements.



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Date       Consultant        Description                                              Hours           Fees

Total for IP/10-90/Ashby Recovery:                                                     91.3    35,161.25

Meetings & Communications with Diversified Committee
9/6/2006   Harvick, C.       Prepare for and participate in call with Diversified       1.5       562.50
                             Trust Deed Fund Committee and Committee
                             professionals regarding potential bidders, joint term
                             sheet, professional fees, collections to date and loan
                             recovery status.

9/6/2006   Tucker, M.        Prepare for and participate in Diversified Trust Deed      1.5       675.00
                             Fund Committee call.

9/13/2006 Tucker, M.         Conference with R. Worthen and M. Levinson                 0.4       180.00
                             regarding issues for Committee and update of
                             activities.

9/18/2006 Harvick, C.        Participate in Diversified Trust Deed Fund Committee       2.7     1,012.50
                             call regarding Joint Term Sheet, plan of
                             reorganization, dealings with J. Milanowski and
                             objection to $20 million bond claim.

9/18/2006 Tucker, M.         Prepare for Committee conference call including            1.0       450.00
                             conference with J. Hermann and M. Levinson.

9/18/2006 Tucker, M.         Participate in Committee conference call and follow        1.9       855.00
                             up issues from call.

9/25/2006 Harvick, C.        Prepare for and participate in Diversified Trust Deed      1.4       525.00
                             Fund Committee call regarding Term Sheet
                             negotiations, tax implications of loan loss, recovery
                             status and strategy moving forward.

9/25/2006 Tucker, M.         Prepare for and participate in Committee conference        2.0       900.00
                             call.

9/26/2006 Tucker, M.         Conference with S. Katz regarding POC issues for           0.2        90.00
                             fund members - certificate numbers vs account
                             numbers; research same.

9/28/2006 Harvick, C.        Exchange numerous e-mails between L. Ernce and J.          0.2        75.00
                             Reed regarding 1099's for 2005 requested by S. Katz.

Total for Meetings & Communications with Diversified Committee:                        12.8     5,325.00

Plan and Other Restructure Related Work
9/5/2006   Harvick, C.       Review of Diversified Trust Deed Fund Loan Servicing       0.6       225.00
                             Agreement regarding plan negotiations. Discussion
                             on same with L. Peterson.

9/5/2006   Peterson, L.      Analyze the interest paid by borrower, how this            0.7       206.50
                             matches to the loan agreement and if this amount
                             less 1% (servicing fee) was paid to Diversified
                             including discussion with C. Harvick.

9/6/2006   Harvick, C.       Review of Revised Joint Term Sheet and e-mails             0.5       187.50
                             regarding same.

9/11/2006 Harvick, C.        Review revised Joint Term Sheet.                           0.4       150.00

9/12/2006 Tucker, M.         Review objection to motion to extend exclusivity by        0.2        90.00
                             US Trustee.



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Date       Consultant    Description                                              Hours           Fees

9/12/2006 Tucker, M.     Analysis of Plan Term Sheet.                               0.8       360.00

9/13/2006 Tucker, M.     Review analysis of revised Plan Term Sheet and             1.1       495.00
                         determine potential alternatives.

9/14/2006 Peterson, L.   Prepare schedule of service fees payable to USA            0.5       147.50
                         Commercial Mortgage for all Diversified loans as of
                         April 13, 2006.

9/14/2006 Tucker, M.     Conference with M. Levinson and J. Hermann on              0.4       180.00
                         follow up Plan issues after group call including
                         servicing issues on Colt Gateway.

9/14/2006 Tucker, M.     Review Plan Term Sheet issues and revisions by             3.6     1,620.00
                         various parties; conference with Diversified Trust
                         Deed Fund Counsel on same.

9/14/2006 Tucker, M.     Prepare for conference call with debtor, USA               2.1       945.00
                         Commercial Mortgage and Diversified Trust Deed
                         Fund professionals regarding Plan Term Sheet issues.

9/14/2006 Tucker, M.     Review Plan issues and conference call with J.             1.4       630.00
                         Hermann on same.

9/15/2006 Harvick, C.    Review and edit Diversified Trust Deed Fund                0.6       225.00
                         schedule of outstanding servicing fees payable to
                         USA Commercial Mortgage for potential offset of
                         interest advance.

9/15/2006 Harvick, C.    Final review of servicing fees payable schedule and e-     0.2        75.00
                         mail to M. Tucker regarding same.

9/15/2006 Peterson, L.   Make changes to schedule of service fees payable to        0.3        88.50
                         USA Commercial Mortgage for all Diversified loans as
                         of April 13, 2006.

9/15/2006 Tucker, M.     Conference with S. Freeman, R. Charles, M. Levinson        0.9       405.00
                         and J. Hermann regarding Plan Term Sheet and Plan
                         to be filed by Debtor.

9/15/2006 Tucker, M.     Conference with M. Levinson and J. Hermann                 0.4       180.00
                         regarding Diversified Trust Deed Fund strategy for
                         Plan.

9/18/2006 Belt, D.       Review proposed wage and bonus plan received from          1.7       705.50
                         S. Smith. Discuss initial reaction and comments with
                         M. Tucker and S. Smith. Provide conceptual
                         alternatives to prospective deferred bonus portion of
                         plan.

9/18/2006 Harvick, C.    Review of Disclosure Statement for Debtor's Joint          0.5       187.50
                         Plan of Reorganization dated September 15, 2006.

9/18/2006 Peterson, L.   Review Reorganization Plan and Disclosure                  0.2        59.00
                         Statement.

9/18/2006 Tucker, M.     Review data for employee retention issues including        0.9       405.00
                         discussion with D. Belt and S. Smith of Mesirow.

9/18/2006 Tucker, M.     Determine issues between Diversified Trust Deed            1.1       495.00
                         Fund and USA Commercial Mortgage that need to be
                         addressed.

9/19/2006 Belt, D.       Prepare analysis of proposed wage and bonus plan           1.8       747.00
                         and forward to M. Tucker for final review.


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Date       Consultant    Description                                              Hours           Fees

9/19/2006 Tucker, M.     Preliminary review of Plan and additional review of        1.2       540.00
                         term sheet.

9/20/2006 Belt, D.       Revise bonus plan analysis, prepare commentary,            2.7     1,120.50
                         calculate total estimated cost and forward same to S.
                         Smith.

9/20/2006 Belt, D.       Call with T. Burr regarding wage and bonus plan            0.8       332.00
                         proposal by Debtor and followup discussion with M.
                         Tucker.

9/20/2006 Harvick, C.    Review Diversified Trust Deed Fund Loan Servicing          0.2        75.00
                         Agreement for specific USA Commercial Mortgage
                         services provided in return for the management fee.

9/20/2006 Tucker, M.     Review issues with Retention Plan proposed by              2.8     1,260.00
                         Debtors and alternatives; discuss same with T. Burr.

9/20/2006 Tucker, M.     Conference with S. Freeman, R. Charles and T. Burr         3.0     1,350.00
                         of USA Commercial Mortgage Committee and M.
                         Levinson and J. Hermann regarding Plan issues.

9/20/2006 Tucker, M.     Conference with M. Levinson and J. Hermann                 0.2        90.00
                         regarding issues with USA Commercial Mortgage on
                         Plan issues.

9/20/2006 Tucker, M.     Additional conference call with M. Levinson and J.         1.1       495.00
                         Hermann regarding plan issues in preparation for
                         meeting with USA Commercial Mortgage Committee
                         professionals.

9/20/2006 Tucker, M.     Participate in all hands conference call on status of      1.0       450.00
                         Plan and sale and other issues.

9/21/2006 Harvick, C.    Review of the I-Track Overview provided to Silverpoint     0.3       112.50
                         to understand the system for ultimate transition.

9/21/2006 Peterson, L.   Review of Diversified Trust Deed Fund prospectus           3.8     1,121.00
                         and Operating Agreement for responsibilities of USA
                         Capital Realty Advisors as the manager and how the
                         manager's fees are calculated and create summary.

9/21/2006 Tucker, M.     Review revised term sheet from First Trust Deed Fund       0.8       360.00
                         and direct lenders; discuss same with J. Hermann.

9/21/2006 Tucker, M.     Conference with R. Charles, T. Burr, M. Levinson, J.       0.7       315.00
                         Hermann on follow up issues to resolve between
                         Diversified Trust Deed Fund and USA Commercial
                         Mortgage.

9/22/2006 Harvick, C.    Review of USA Commercial Mortgage's finalized audit        0.6       225.00
                         report for 2004 to determine amounts owed
                         Diversified Trust Deed Fund for potential offsets.

9/22/2006 Peterson, L.   Prepare charts showing the trend of revenue and            3.0       885.00
                         management fees for Diversified Trust Deed Fund
                         from inception until June 2006. Also prepare chart of
                         total assets and management fees as a percentage of
                         assets over this same time period.

9/22/2006 Tucker, M.     Conference call with R. Charles, S. Freeman, J.            1.8       810.00
                         Hermann and M. Levinson regarding additional Plan
                         term sheet issues and attempt at resolving Diversified
                         Trust Deed Fund and USA Commercial Mortgage
                         issues.


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Date       Consultant    Description                                               Hours           Fees

9/22/2006 Tucker, M.     Conference with S. Freeman, J. Hermann and M.               1.9       855.00
                         Levinson regarding plan term sheet issues and issues
                         between Diversified Trust Deed Fund and USA
                         Commercial Mortgage.

9/25/2006 Harvick, C.    Review of revised Joint Term Sheet and e-mails              0.4       150.00
                         regarding same.

9/25/2006 Harvick, C.    Review of Diversified Trust Deed Fund's monthly             0.5       187.50
                         operating reports and an FTI summary of Diversified
                         Trust Deed Fund's monthly operating reports or time
                         for activity with USA Commercial Mortgage.

9/25/2006 Tucker, M.     Discussion with J. Hermann and M. Levinson                  0.9       405.00
                         regarding Term Sheet and follow up issues.

9/25/2006 Tucker, M.     Follow up conference call with M. Levinson after call       0.3       135.00
                         with A. Jarvis on Plan issues to discuss next steps.

9/25/2006 Tucker, M.     Review revised draft of Term Sheet.                         0.6       270.00

9/25/2006 Tucker, M.     Conference with M. Levinson and A. Jarvis regarding         1.2       540.00
                         Plan issues.

9/26/2006 Peterson, L.   Review of the Debtors' Joint Plan of Reorganization         1.3       383.50
                         and Disclosure Statement.

9/26/2006 Tucker, M.     Review amended proposal on settlement with First            0.5       225.00
                         Trust Deed Fund and related e-mails to and from
                         Committee members.

9/26/2006 Tucker, M.     Participate in all hands conference call on case status     1.0       450.00
                         issues.

9/26/2006 Tucker, M.     Conference with M. Levinson and J. Hermann                  1.8       810.00
                         regarding counter offer to First Trust Deed Fund;
                         review draft counter offer and reply to same as well as
                         Committee member questions.

9/26/2006 Tucker, M.     Conference with M. Levinson and J. Hermann                  0.8       360.00
                         regarding plan issues and response by First Trust
                         Deed Fund to proposal.

9/26/2006 Tucker, M.     Review e-mail from M. Levinson regarding                    0.5       225.00
                         discussions with E. Karasik and Term Sheet
                         considerations; analyze same and reply with
                         alternatives.

9/27/2006 Tucker, M.     Preliminary review of revised retention plan per e-mail     0.3       135.00
                         from S. Smith.

9/27/2006 Tucker, M.     Review counter proposals and comments by First              1.6       720.00
                         Trust Deed Fund on plan settlement issues and
                         discuss same with M. Levinson and J. Hermann.

9/29/2006 Tucker, M.     Conference with M. Levinson and J. Hermann                  0.8       360.00
                         regarding revised First Trust Deed Fund litigation
                         settlement Term Sheet.

9/29/2006 Tucker, M.     Conference with E. Karasik and M. Kvarda of First           1.0       450.00
                         Trust Deed Fund and M. Levinson and J. Hermann
                         regarding Plan Term Sheet negotiations.

9/29/2006 Tucker, M.     Review Term Sheets and analyze same.                        0.6       270.00



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Date       Consultant         Description                                        Hours           Fees

Total for Plan and Other Restructure Related Work:                                60.9      25,281.00

Grand Total                                                                      487.3   $178,124.25




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                                USA Capital Diversified Trust Deed Fund
                                           Summary Exhibit D
                               Professional Expenses Incurred by Category
                               For the Period of 9/1/2006 through 9/30/2006
Consultant           Date Incurred Description of Expense                                      Amount

Administrative
Administration          9/19/2006   Postage - Federal Express J. Hermann.                         10.68

Total for Administrative:                                                                         10.68

Airfare
Peterson, L.            9/27/2006   Air Fare from PHX on 9/27/06 to LAS returned                 245.10
                                    9/28/06.

Harvick, C.             9/27/2006   Air Fare from PHX on 9/27/06 to LAS returned                 245.10
                                    9/28/06

Belt, D.                9/28/2006   Air Fare from PHX on 9/27/06 to LAS returned                 245.10
                                    9/28/06.

Total for Airfare:                                                                               735.30

Lodging
Peterson, L.            9/28/2006   Lodging in Las Vegas, NV for 1 Night, Check In               185.25
                                    9/27/06 - Check Out 9/28/06.

Harvick, C.             9/28/2006   Lodging in Las Vegas, NV for 1 Night, Check In               185.25
                                    9/27/06 - Check Out 9/28/06.

Belt, D.                9/28/2006   Lodging in Las Vegas, NV for 1 Night, Check In               185.25
                                    9/27 - Check Out 9/28.

Total for Lodging:                                                                               555.75

Meals
Belt, D.                9/27/2006   Dinner with C. Harvick and L. Peterson.                      240.00

Harvick, C.             9/28/2006   Breakfast.                                                       5.25

Total for Meals:                                                                                 245.25

Other
Tucker, M.              9/8/2006    Telephone Charges various all hands conference                24.75
                                    calls while in Las Vegas, Nevada.

Total for Other:                                                                                  24.75

Transportation
Harvick, C.             9/27/2006   Parking - PHX 2 days.                                         40.00

Belt, D.                9/27/2006   Taxi - counsel law offices to hotel.                          15.00


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Consultant       Date Incurred Description of Expense                                  Amount

Peterson, L.         9/27/2006   Taxi airport to USA Capital offices.                      20.00

Peterson, L.         9/28/2006   Parking - PHX 2 days.                                     40.00

Peterson, L.         9/28/2006   Taxi Hotel to USA Capital offices.                        20.00

Belt, D.             9/28/2006   Parking - PHX 2 days.                                     40.00

Total for Transportation:                                                                175.00

Grand Total                                                                           $1,746.73




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